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              EXHIBIT A
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                                                                                            7/28/2020 11:17 AM
                                                                  Marilyn Burgess - District Clerk Harris County
                                                                                       Envelope No. 44881997
                       2020-44610 / Court: 061                                                 By: Lisa Thomas
                                                                                    Filed: 7/28/2020 11:17 AM

                              CAUSE NO.

RONALD SIEGEL,                         §      IN THE DISTRICT COURT OF
    Plainti.ff,                        §
                                       §
V.                                     §      HAR.RIS COUNTY, TEXAS
                                       §
KROGER TEXAS, L.P.,                    §
    Defendant.                         §            JUDICIAL DISTRICT

              PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND,
                    AND REQUESTS FOR DISCLOSURE

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, RONALD SIEGEL, PLAINTIFF (hereinafter, "Plaintiff'), in

the above-styled cause, and files this Plaintiffs Original Petition, Jury Demand, and

Requests for Disclosure, complaining of and against KROGER TEXAS, L.P.,

DEFENDANT (hereinafter, "Defendant"), and for cause of action would respectfully

show unto the Honorable Court in support thereof the following:

                                    I. PARTIES

        1.1   PLAINTIFF, RONALD SIEGEL,, is an individual residing in Harris

County, Texas.

        1.2   DEFENDANT, KROGER TEXAS, L.P., is a foreign limited partnership

with its principal place of business in Hamilton County, Ohio.• It is registered to do

business in Texas and thereby may be served with process through its registered

agent in the State of Texas, Corporation Service Company d/b/a CSC-Lawyers

Incorporating Service Company, 211 E. 7th Street, Suite 620, Austin, Texas 78701.
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                             II. JURISDICTION AND VENUE

          2.1   This Court has jurisdiction over this original civil action because

Plaintiff seeks damages in an amount exceeding the Court's minimum jurisdictional

limits.

          2.2   Pursuant to Section 15.002(a)(1) of the Texas Civil Practice and

Remedies Code, venue is proper in Harris County, Texas because Harris County,

Texas is the county in which all or a substantial part of the events or omissions giving.

rise to the occurrence that forms the basis of the above-styled cause took place.

          2.3   Pursuant to Rule 47(c) of the Texas Rules of Civil Procedure, Plaintiff

only seeks monetary damages of $200,000.00 to $1,000,000.00, including damages of

any kind, penalties, costs, expenses, and pre-judgment interest.

                            III. DISCOVERY CONTROL PLAN

          3.1   Pursuant to Rule 190.3 of the Texas Rules of Civil Procedure, Plaintiff

seeks a Level 2 Discovery Control Plan.

                                             IV. FACTS

          4.1   On or about November 22, 2019, Plaintiff was an invitee at Defendant's

premises, a grocery store. As Plaintiff entered the store, he lacerated his leg on an

errant branch of a Christmas tree displayed in a set. The display was dimly lit.

Plaintiff suffered sexious injuries as a direct and proximate result of Defendant's

negligence, specifically as a result of Defendant's failure to warn or make safe

dangerous conditions about which it knew or could have discovered with a reasonable

inspection. The danger was not open and obvious to Plaintiff.



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                                     V. CAUSES OF ACTION

                                     PREMISES LIABILITY

        5.1     Defendant, as a premises owner, owed its invitees a duty to make safe

its premises and warn of all dangerous conditions about which it knew or could have

discovered with a reasonable inspection. Defendant breached this duty when it:

                         a.      erected Chiistmas trees close together;

                         b.      dimly lit the area around the trees;

                         C.      located these trees around places of ingress and egress of

                                 the premises' store; and

                         d.      did not inspect the trees or sharp, protruding branches that

                                 could have caused — and did in fact cause — lacerations and

                                 other injuries to invitees.

        5.2     As a proximate result of these breaches of Defendant's duty owed to

invitees such as Plaintiff, the latter has suffered severe and grievous injuries.

                                           VI. DAMAGES
        6.1     As a result of the occurrence made the basis of the above-styled cause,

as detailed above, and as a proximate result of the Defendant's premises liability,

Plaintiff has suffered injuries and wiIl likely to suffer additional damages in the

future, and is entitled to recover:

                         a.      past medical bills and expenses incurred as a proximate

                                 result of the accident that forms the basis of the above-

                                 styled cause;



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                         b.      future medical bills and expenses that, in all reasonable

                                 probability, will be incurred as a proximate result of the

                                 occurrence that forms the basis of the above-styled cause;

                         c.      physical pain and suffering in the past;

                         d.      physical pain and suffeling that, in all reasonable

                                 probability, will be incurred as a proximate result of the

                                 occurrence that forms the basis of the above-styled cause;

                         e.      mental anguish in the past;

                        f.       mental anguish that, in all reasonable probability, will be

                                 incurred as a proximate result of the occurrence that forms

                                 the basis of the above-styled cause;

                        g.       physical disfigurement in the past;

                        h.       physical disfigurement that, in all reasonable probability,

                                will be incurred as a proximate result of the occurrence

                                 that forms the basis of the above-styled cause;

                        i.      lost wages;

                        j.      loss earning capacity;

                        k.      pre-judgment interest;

                        1.      post-judgment interest;

                        M.      costs of court; and




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                        n.      such other and further items of damages as may be

                                supplemented as a result of the discovery performed in this

                                suit.

                             VII. REQUESTS FOR DISCLOSURE

        7.1     Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Defendant

is requested to disclose, within fifty (50) days of service of this Request, the

information or material described in Rule 194.2.

                              VIII. CONDITIONS PRECEDENT

        8.1     All applicable conditions precedent, if any, to PlaintifE"s right to sue and

recover all applicable damages have been performed or otherwise occurred.

                                        IX. JURY DEIVIAND

        9.1     Plaintiff requests a jury for aIl issues presented herein, and the

appropriate jury fee has been paid.

                                              PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that

Defendant answers allegations contained herein, and, upon tilial thereof, Plaintiff has

and recovers judgment against Defendant for all damages and injuiies suffered and

incurred, including damages of any kind, for pre-judgment interest, for interest on

the judgment, for court costs, and for any and all further such relief, general or

special, either at law or in equity, to which the Court establishes Plaintiffis entitled.




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                                                          Respectfully submitted,

                                                          ROBERTS 1VIARKLAND LLP

                                                  By:     /s/ R. Cliue Marklarzd
                                                          R. Clive Markland
                                                          State Bar No. 24027475
                                                          Noah M. Horwritz
                                                          State Bar No. 24116537
                                                          2555 N. MacGregor Way
                                                          Houston, Texas 77004
                                                          Telephone: 713.630.0900
                                                          Facsimile: 713.630.0991
                                                          Email: cm@robertsmarkland.com
                                                          Email: nh@robertsmarkland.com
                                                          Email: eservice@robertsmarkland.com

                                                          -and-

                                                          HOOF LAw FIRlvf, PLLC

                                                 By:      /s/ Kimberly Hoof
                                                          Kimberly Hoof
                                                          State Bar No. 24090170
                                                          9800 Centre Parkway, Suite 860
                                                          Houston, Texas 77036
                                                          Telephone: 832.404.2964
                                                          Facsimile: 832.529.2597
                                                          Em ail: lawyer@hooflawfirm.com

                                                         ATTORNEYS FOR PLAINTIFF




                     DESIGNATED E-SERVICE EMAIL ADDRRESS

      The following is the designation of electronic service email address for the
above attorney(s) for all electronically served documents and notices, filed and unfiled
pursuant to Tex. R. Civ. P. 21(f)(2) and 21(a): eservice@robertsmarkland.com. This is
the ONLY electronic service email address for the above attorney(s), and service
through any other email address will be considered invalid.




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